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                                   8                                  UNITED STATES DISTRICT COURT

                                   9                               NORTHERN DISTRICT OF CALIFORNIA

                                  10                                           San Francisco Division

                                  11       IN THE MATTER OF THE SEARCH OF                     Case No. 16-mc-80263-LB
                                           CONTENT STORED AT PREMISES
                                  12       CONTROLLED BY GOOGLE AND AS
Northern District of California
 United States District Court




                                           FURTHER DESCRIBED IN                               UNSEALING ORDER
                                  13       ATTACHMENT A
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                                  16        The court unseals the case (as reflected in the docket entry at ECF No. 28).1 The court also

                                  17   unseals the entire docket sheet, but all filings attached to the docket sheet must remain sealed

                                  18   (except as specified in this order) pending further order of the court. This will result in a publicly

                                  19   accessible docket sheet. The parties also may file via ECF going forward, and they also will

                                  20   receive electronic notice of all filings instead of mailed or emailed copies.

                                  21        The parties must comply with the sealing requirements in Civil Local Rule 79-5 for all future

                                  22   filings. As discussed at the hearing on February 21, 2017, the parties must file public-record

                                  23   copies of their current filings. Within seven days, absent stipulation of the parties or further order

                                  24   of the court, they must confer and then either specify the documents that the court may unseal or

                                  25   submit public-record copies of existing filings and otherwise comply with Rule 79-5. They may

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                                        Record citations refer to material in the Electronic Case File (“ECF”); pinpoint citations are to the
                                  28   ECF-generated page numbers at the top of documents.

                                       UNSEALING ORDER — No. 16-mc-80263-LB
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